Case 1:22-cv-08300-VSB Document 39-11 Filed 10/14/22 Page 2 of 8
Case 8:21-cv-01736-TDC Document 95-28 Filed 09/06/23 Page 1 of 7

                        ACTS
                               AND




                JOINT RESOLUTIONS

                            PASSEID BY




     THE GENERAL ASSEMBLY
                              OF TI F




           STATE OF VIRGINIA

                            DURING TIE




                    SESSION OF 1877-78.




                          RICHMOND:
          R. F. WALKER, SUPERINTENDENT PUBLIC PRINTING.
                               1878.


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Case 1:22-cv-08300-VSB Document 39-11 Filed 10/14/22 Page 3 of 8
Case 8:21-cv-01736-TDC Document 95-28 Filed 09/06/23 Page 2 of 7
                          ACTS OF ASSEMBLY.


      Justices, and persons acting under their orders, guiltless, if a
        person be killed, &c. ; if either of them killed, all engaged in
        the assembly guilty.
         5. If, by any means taken under authority of this chapter Persons acting
      to disperse any such assembly, or arrest and secure those ty  underanthoi.
                                                                       killing of
      engaged in it, any person present, as spectator or otherwise, anothor on.
      be killed or wounded, any judge or justice exorcising such gago,rscta riot,
      authority, and every ono acting under his order, shall be hold gultloss
      held guiltless; and if the judge or justice, or any person if persons on.
      acting under the order of either of them, be killed or gaged In Hpo
      wounded in taking such means, or by the rioters, all persons Irioters deemed
      engaged in such assembly shall be deemed guilty of such guiltyof kill.
      killing or wounding.                                                 lng, ,o

      Punishment of rioter,when dwelling.house injured, and when not.

        6. If any rioter pull down or destroy, in whole or in part, Whore dwol.
                                                                     Ingh0oU5,oInIsde-
      any dwelling-house, or assist therein, he shall be confined in stroyed
      the penitentiary not less than. two nor more than five years; whole or part
      and though no such house
                            n      be so injured, every
                                                  ~Whererioter, and p'"onlsy
                                                                           hionse Is
      every person unlawfully or tumultuously assemhbled, shall be not intred
      confined in jail not more than one year, and fined not ex- Penalty
      ceeding one hundred dollars.
                         Carrying concealed weapons.
         7. If a person habitually carry about his person, hid from liabiual carry-
      common observation, any pistol, dirk, bowio-knife, or any ee      ofcon-
                                                                    caled  weapons
      weapon of the like kind, ho shall be fined not more than Penalty
      fifty dollars.


                             CHAPTER VII.
      OF OFFENCES    AGAINST MORALITY AND DECENCY-PROTECTION
                         Or RELIGIOUS MEETINGS.

      Persons marrying when former husband or wife is living; proviso.
         1. Any personthewho, being married, shall, during the. life Of~Marrylngwhon
                                                                     'former hus.
      the former -husband or wife, marry another person in this band or wifel
      btato, or, if the marriage with su.ch other person take place living
      out of the state, shall thereafter cohabit with such other
      person in this state, shall be confined in the penitentiary not Penalty
      less than three, nor more than eight years.
         2. The preceding section shall not extend to a person Proviso
      whose former husband or wife shall have been continually
      absent from such person for seven years next before mar-
      riago of such person to another, and shall not have been
      known by such person to be living within that time; nor to
      a person who shall, at the time of the subsequent marriage,
Case 1:22-cv-08300-VSB Document 39-11 Filed 10/14/22 Page 4 of 8
Case 8:21-cv-01736-TDC Document 95-28 Filed 09/06/23 Page 3 of 7
         302                               ACTS OF ASSEMBLY.

                        have been divorced from the bond of the former marriage,
                        or whose former marriage shall at that time have boon
                        declared void by the sentence of a court of 6ompetent juris.
                        diction.
                                 M11arriage within prohibited degrees punished.

         Marrlagoinvlo- 3. If any person marry in violation of the ninth or tenth
         ol.ienfOLI .section of chapter one hundred and four of the Code of
         187:1          eighteen hundred and seventy-three, he shall be confined in
         Penalty        jail not more than six months, or fined not exceeding five
         Resldontf or hundred dollars, at the discretion of the jury. And'it any
         9""e wit, de- person,
         proibited        or     resident in this state, and within the degrees of
         grees. or wite relationship mentioned in those sections, or any white person
         person  or no-
         gro, going out and negro, shall go out of this state for the purpose of being
         of tnto lobe
         married,  and  married, and with the intention of returning, and be mar-
         afterwards     rined out of it, and afterwards return to and reside in it,
         returning      cohabiting as man and wife, they shall be as guilty, and be
         Penaty         punished as if the marriage had been in this state. The fact
         Cohaifincon
         evidence  of   of their cohabitation here as man and wife shall be evidence
         marriage       of their marriage.

                            Issuing license or celebrating marriagecontrary to law.

         Issuing mar-       4. If any clerk of a court knowingly issue a marriage
         rigerary o      license contrary to law, he shall be confined in jail not more
        Penalty          than one year, and fined not exceeding five hundred dollars.
        Performing          5. If any person knowingly perform the ceremony of mar-
        marrl        r-mnriage without lawful license, or affiliate in celebrating the
         Ieenso,
        CuIt     orwith- rites of marriage without being authorized by law to do so,
             authority
        Pentllty         ho shall be confined in jail not more than one year, and fined
                         not exceeding five hundred dollars.

                                            Adultery and lewdness.

        Aduiltery and     6. If a person commit adultery or fornication, be shall be
        fornication
        Penalty
                       fined not less than twenty dollars.
        Lowdnoss          7. If any persons, not married to each other, lewdly and
                       lasciviously associate and cohabit together, or, whether mar-
                       ried or not, be guilty of open and gross lewdness and lascivi-
        Penalty       ousness, they shall be fined not less than fifty nor more than
                      five hundred dollars; and upon a repetition of the offence,
        Penatyforsec. and conviction thereof, they shall also be imprisoned in the
        ond once      county or corporation jail, at the discretion of the court or
                      justice, for not less than six nor more than twelve months.

                         White person marryiny a negro, or celebrating such marriage.

        Alarriage of a   8. Any white person who shall intermarry with a negro,
        whitoa porson
        with    negro  or any negro who shall intermarry with a white person,
        Penalty        shall be confined in the penitentiary not less than two nor
                       more than five years.
Case 1:22-cv-08300-VSB Document 39-11 Filed 10/14/22 Page 5 of 8
Case 8:21-cv-01736-TDC Document 95-28 Filed 09/06/23 Page 4 of 7

                           ACTS OF ASSEMBLY.                                    303
          9. Any person who shall perform tho ceremony of mar- Ponnityforpor-
       riage between a white person and a negro, shall forfeit two forming ir-
       hundred dollars, of which the informer shall have one.half. g

             Keeping house of ill-fame; obscene books, prints, &c.
          10. If a person keep a house of ill-fame, resorted to for KoQ11)' house
       the purpose of prostitution or lewdness, he shall be confined orf meno
       in jail not more than one year, and fined not exceeding two Ponalty
       hundred dollars; and in a prosecution for this offance, the Gonoral car-
       general character of such house may be proved.                  ltorbe
                                                                      may       11011
                                                                            of proved
          11. If a person import, print, publish, sell or distribute, obscene books,
       any book or other thing containing obscene language, or
       any print, picture, figure or description, manifestly tending
       to corrupt the morals of youth; or introduce into any family
       or plac of education, or buy, or have in his possession any
       such thing for the purpose of sale, exhibition or circulation,
       or with intent to introduce it into any family or place of
       education, lie shall be confined in jail not more than one Ponnity
       year, and fined not exceeding two hundred dollars.-

                            Crime against nature.
          12. If any person shall commit the crime of buggery, fliggery
       either with mankind or with any brute animal, lie shall be
       confined in the penitentiary not less than two nor more than Penaly
       five years.

               riolationof sepulture; injuries to burial-grounds.

         13. If a person, unlawfully, disinter or displace a dead violation of
       human body, or any part of a dead human body, which shall ''lture
       have been deposited in any vault or other burial place, he
       shall be confined in jail not more than one year, and fined Penalty
       not exceeding five hundred dollars.
         14. Every person who shall willfully and maliciously do- wifl    Anlmn-
                                                                  Ilclous injury
       stroy, mutilate, deface, injure, or remove any tomb, men - in tor-b..,
       ment, gravo-stone, or other structure placed        within any linncenetery,
       cemetery, grave-yard, or place of burial, or within any lot
       belonging to any memorial or monumental association, or
       any fences, railing, or other works for the protection or orna-
       ment of any tomb, monument, grave-stone, or other structure
       aforesaid; or of any cemetery lot within any cemntery; or
       shall willfully or maliciously destroy, remove, cut, break, or
       injure any tree, shrub, or plant within any cemetery or lot
       of any memorial or monumental association; or who shall
       willfully or maliciously destroy, mutilate, injure, or remove
       and carry away any flowers, wreaths, vases, or other orna-
       ments placed upon or around any grave, tomb, monument,
       or lot in any cemetery, grave.yard, or other place of burial;
       or who shall willfilly obstruct proper ingress and egress to Obstructlon of
       and from any cemetery or lot belonging to any memorial wayt              o
       association, shall be guilty of a misdemeanor, and be pun-
Case 1:22-cv-08300-VSB Document 39-11 Filed 10/14/22 Page 6 of 8
Case 8:21-cv-01736-TDC Document 95-28 Filed 09/06/23 Page 5 of 7
       304                                    ACTS OF ASSEMBLY.
       Penalty          ishod by a fine not exceeding one Iundred dollars, or by
                        imprisonment in jail not exceeding six months.

                                Cruelty to animals; profanity and drunkenness.
       Cruelty to anl-    15. If a person cruelly beat or torture any horse, animal
       reals"          or other beast, whether his own or that of another, he shall
       Penalty         be fined not exceeding fifty dollars.
       Profanity and      16. If any person, arrived at the ago of discretion, pro-
       drunkenness     fanely curse or swear, or get drunk, he shall be fined by a
       Penalty         justice one dollar for each offence.

                                              Violation of the Sabbath.
       Violation of       17. If' a person, on a Sabbath day, be found laboring at
       Sabbath          any trade or calling, or employ his apprentices or servants
                        in labor or other busine:s, except in household or other work
       Penalty          of necessity or charity, he shall forfeit two dollars for each
                        offence; every day any servant or apprentice is so employed
                        constituting a distinct offence.

                              Exceptions as to the mail, and as to certain persons.

       Transportation      18. No forfeiture shall be incurred under the preceding
       of        oax-  section for the transportation on Sunday of the mail, or of
       Exeionaa
       to              passengers and their baggage. And the
          certain rel-by"pf.efwh                                 ,nn.fnisaid forfeiture shull
                                                                                      eivs
       glonists         not be incurred   by an,   person  who  conscientiously      believes
                        that the seventh day of the week ought to be observed as
                        a Sabbath, and actually refrains from all secular business
       Proviso          and labor on that day: provided he does not compel an
                        apprentice or servant, not of his belief, to do secular wo-k
                        or business on Sunday, and does not on that day disturb any
                        other person.
       Sale of Intoxi-     19. No bar-room, saloon, or other place for the sale of
       eathn tedore intoxicating liquors, shall be opened, and no intoxicating
       tween certain bitters or other drink shall be sold in any bar-room, restau-
       hours            rant, saloon, store, or other )lace, from twelvo o'clock on
                        each and every Saturdi'y night of the wecek, until sunrise of
                        the succeeding Monday morning; and any person violating
                        the provisions of this section, shall be deemed guilty of a
                        misdorr .nor, and, if convicted, shall be punished by fine
       Penalty          not loss than ten not- more than five hundred dollars; and
                        shall, moreover, at the discretion of the court, forfeit his
       Proviso          license: provided that this law shall not apply to any city
                        having polico regulations on this subject, and an ordinance
                        inflicting a penalty equal to the penalty inflicted by this
                        section.
       Disturbaneo of      20. If a person willfully interrupt or disturb any assembly
       religious wor- met for the worship of God, or heincg intoxicated, if he dis-
       ship                  orthe ameiwhtherodior          beiygrinotihashallib   confine
                        turb the samo, whether willflly or not, he Shall be confined
       Penally          in jail not more than six months, ani fined not exceeding onn
                        hundred dollars, and a jasticeo may put him under restraint
                        during religious voi ship, and bind him for not more than one
                        year to be of good behavior.
Case 1:22-cv-08300-VSB Document 39-11 Filed 10/14/22 Page 7 of 8
Case 8:21-cv-01736-TDC Document 95-28 Filed 09/06/23 Page 6 of 7
                         ACTS OF ASSEMBLY.                                    .305
        21. If any person carrying any gun, pistol, bowie.knife, CarryingInn-
      dagger, or other dangerous weapon, to any place of worship on.,      Map-
      while a meeting for religious purposes is boing held at such of worship or
      place, or without good and sufficient cause therefor, shall on Snday
      carry any such weapon on Sunday at any place other than
      his own premises, shall be fined not less than twenty dollars. Penahty
      If any offonceo under this section be committed at a place of Offenders sub.
      religious worship, the offender may be arrested on the order Jee     to arrest
                                                                      withoult war-
      of a conservator of the peace, without warrant., and held rant
      until warrant can be obtained, but not execeding three hours.
      It shall be the duty of justices of. the pence, upon their own Duty of Justice
      knowledge, or upon the aflfdavit of any person, that an offence      r O, o
      under this section has been committed, to issue atwarrant for fence u dtor
      the arrest of the offender.                                     this setion


      Protection of religious assemblies; prohibition against sale of
            liquors or other things ncar such meeti gs; proviso.

         22. If any person shall erect, place, or have any booth, sio of iiqurs,
      stall, tent, carriage, boat, vessel, vehicle, or other contrivance ,., porohibited
       whatever, for the purpose or use of selling, giving, or other-
      wise disposing of any kind of spirituous an~d fermented
      liquors, or any other articles of traflic; or shall sell, give,
      barter, or otherwise dispose of any spirituous or fermented
      liquors, or any other articles of traffic within three miles of
      any camp-meeting, or other place of religious worship, during
      the time of holding any meeting for religious worship at such
      place, such person, on conviction before a justice of the
      peace, for the first offence, shall be fined not less than ten Penalty
      dollars, nor more than twenty dollars, and stand committed
      to jail until the fine and costs are pail; and for the second Penalty for so.
      offence, shall be fined as aforesaid, anti be imprisoned not eoatiollence
      less titan ten nor more than thirty days.
         23, If any pbrson shall commit any offence against, the Additional
      provisions of the preceding section, he shall, in addition to pen"ly
      the penalties therein mentioned, forfeit all such spirituous or
      fermented liquors, and other articles of traffic, and all the chests
      and other things containing the same, belonging to and in
      the possession of f he person so offending, together with such
      booth, stall, tent, carriage, boat, vessel, vehicle, or other con-
      trivance or thing prepared and used in violation of said sec-
      tion; and it shall be the duty of any sheriff, deputy sheriff, Duty of Sher-
      or constable, if he ces any person violating the preceding, rt o inde "
      section, to arrest the offender
                                    ' and carry •him before a justice
                                                                    "      and selzthe
                                                                           prpry
      of the peace. The shriff, deputy sheriff, or constable, when
      he arrests the offender, shall seize the property hereby de-
      clated to be forfeited, or shall seize the same on a warrant
      against the offender, if such offender cannot be found ; and
      the justice of the peace before whom such offender is con-
      victed, or before whom the warrant is returned that the
      offender cannot be found, shall enter judgment of condemna- Judgment of
      tion against such property, and issue a fieri facias for the condemnation
Case 1:22-cv-08300-VSB Document 39-11 Filed 10/14/22 Page 8 of 8
Case 8:21-cv-01736-TDC Document 95-28 Filed 09/06/23 Page 7 of 7

         306                                  ACTS OF ASSEMBLY.
         Fl. fa. to Issue sale thereof: provided the person who has been returned not
         Proviso        found, and whoso property has been condemned in his ab-
                        sence, may appear at any time before tho sale of the property
                        and have the case tried as if he had appeared at the return
                        of the warrant.
         To whomnotpro-
         visions    to     24. The provisions of the two preceding sections shall not
         apply   o      apply to any licensed tavern.keoper, merchant, shop-keeper,
                        farmer, or other person in the usual and lawful transaction
                        of his ordinary business, in the usual place of transacting
                        such business, or to any person having permission, in writing
                        from the superintendent of such meeting, to sell such articles
         Proviso        as may be named in such permission: provided this permis.
                        sion shall not extend to the'sale of any spirituous or fer-
                        mented liquors.
                                               .Right of appeal.
         Higi tofappeal    25. iNothing in this chapter shall prevent the courts of
         preserved      record from exercising their common faw or statutory juris-
                        diction in all eases for disturbing public worship: provided
         Proviso        that the party convicted under the twenty.second or twenty-
                        third sections of this chapter shall have the right to appeal
                        to the next county court fqr the county where the convic.
                        tion is had, upon giving bail for his appearance at court, and
                        upon such appeal shall be entitled to a trial by jury: and
         Persons pro-   provided further, that when any person or persons are pro-
         nsedectagainst ceedod against under the twenty-second or twenty.third see-
         answerbefore tions of this chapter, he or they shall not be held to answer
         grand jury     for the same offence before any grand jury or court of record,
                        except as herein provided.
                                    Temporary police force for religious meetings.

         Temporary po.        26. The supervisor, or any justice of the magisterial dis-
         lice antorlzc,i   trict where the meeting is held, shall have power to appoint
                           a temporary police to enforce the provisions of this chapter.



                                                CHAPTER VIII,
                                      OF OFFENCES   AGAINST PUBLIC HEALTH.

                                            Selling unsound provisions.

         Saloofunsound        1. If a person knowingly sell any diseased, corrupted, or
         provisions        unwholesome provisions, whether meat or drink, without
                           making the same known to the buyer, he shall be confined
         Penalty           in jail not more than six months, and fined not exceeding
                           one hundred dollars.
